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      EXHIBIT 4
Case 4:20-cv-01552 Document 1-4 Filed on 05/01/20 in TXSD Page 2 of 4              4/8/2020 12:51 PM
                                                        Marilyn Burgess - District Clerk Harris County
                                                                             Envelope No. 42194937
                                                                                   By: Devanshi Patel
                                                                            Filed: 4/8/2020 12:51 PM
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      Case 4:20-cv-01552 Document 1-4 Filed on 05/01/20 in TXSD Page 4 of 4




                                            AFFIDAVIT OF SERVICE


State of Texas                                       County of HARRIS                                     127th Judicial District Court


Case Number: 202016545

Plaintiff;
WILLIAM JOYCE                                                                                                  BBW2020002952

vs.


Defendant:
ARKEMA, INC. AND GREAT WESTERN VALVE,INC

Received these papers on the 2nd day of April, 2020 at 3:42 pm to be served on ARKEMA, INC BY
SERVING REGISTERED AGENT: CORPORATION SERVICE COMPANY (DBA-CSC LAWYERS
INCORPORATING SERVICE COMPANY). 211 E 7TH STREET, SUITE 620, AUSTIN, TX 78701.

I. MIKE TECHOW, being duly s\worn, depose and say that on the 3rd day of April, 2020 at 3:00 pm, 1:

served a REGISTERED AGENT by delivering a true copy of the CITATION I LETTER I PLAINTIFF'S
FIRST SET OF REQUESTS FOR PRODUCTION AND FIRST SET OF INTERROGATORIES TO GREAT
WESTERN VALVE.INC. I PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE with
the date and hour of service endorsed thereon by me, to: Samantha Guerra,CORPORATION SERVICE
COMPANY (DBA-CSC LAWYERS INCORPORATING SERVICE COMPANY) as Registered Agent at
the address of: 211 E 7TH STREET, SUITE 620, AUSTIN, Travis County, TX 78701 on behalf of
ARKEMA, INC, and informed said person of the contents therein, in compliance with state statutes.


I certify that I am over the age of 18, of sound mind, have no interest in the above action, and am a Certified
Process Server, in good standing, in the jurisdiction in which this service was made.

The facts stated in this affidavit are within my personal knowledge and are true and correct.




                                                                           MIKE TECHOW
Subscribed and Sworn to before me on the                i                  PSC-1215, EXP 7/31/20
day of /\^\]              . i.010 by the affiant
who is personally kner^n to me.
                                                                           Our Job Serial Number: BBW-202G002952

NG/TARY PUBLIC
                              Copyiighl © 1992-2020 Database Sorvicos, Inc. - Procoss Server's Toolbox V8.1k


         '^ARIE NICOLE H^RY

                      04-04-2023
          Notary ID 131960939
